935 F.2d 1288Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Percy Lee HALSEY, Defendant-Appellant.
    No. 91-6018.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 17, 1991.Decided June 20, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CR-89-151-N;  CA-90-1483-N)
      Percy Lee Halsey, appellant pro se.
      Harvey Lee Bryant, III, Assistant United States Attorney, Norfolk, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Percy Lee Halsey appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Halsey, CR-89-151-N;  CA-90-1483-N (E.D.Va. Jan. 28, 1991).  We deny Halsey's motion for release pending appeal in light of the disposition of the action.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    